Case 1:21-cr-00399-RDM Document 185-3 Filed 09/08/23 Page 1 of 8




                Exhibit A
        Case 1:21-cr-00399-RDM Document 185-3 Filed 09/08/23 Page 2 of 8




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                        Criminal No. 21-CR-399 (RDM)
        v.

ROMAN STERLINGOV,

                    Defendant.



                   [PROPOSED] SOURCE CODE PROTECTIVE ORDER

        This Source Code Protective Order supplements the Protective Order approved by the

Court on September 17, 2021 (ECF No. 18), and which Chainalysis Inc. (“Chainalysis”)

incorporates herein by reference. Where the Protective Order Governing Discovery and this

Source Code Protective Order conflict in their treatment of Source Code, this Source Code

Protective Order shall control.

        Chainalysis, Inc. hereby submits a supplemental protective order to govern the information

or items relevant to the Source Code in this matter in response to the Court’s September 6, 2023

order (September 6, 2023, Minute Order). In providing this Source Code Protective Order,

Chainalysis neither waives any objections nor concedes to Defendant’s requests for review of any

Source Code. Accordingly, it is HEREBY ORDERED THAT:

                           Highly Confidential Source Code Materials

        1.      Chainalysis may provide access to defense counsel (defined as counsel of record in

this case) and Bryan Bishop with access to certain trade secret and proprietary source code and

object code (i.e., computer instructions and data definitions expressed in a form suitable for input

to an assembler, compiler, or other translator), including source files, make files, intermediate

output files, executable files, header files, resource files, library files, module definition files, map


                                                   1
sf-5629143
        Case 1:21-cr-00399-RDM Document 185-3 Filed 09/08/23 Page 3 of 8




files, object files, linker files, browse info files, debug files, and associated comments and revision

histories, formulas, engineering specifications, or schematics that define or otherwise describe in

detail the algorithms or structure of software or hardware designs, disclosure of which to another

party would create a substantial risk of serious harm that could not be avoided by less restrictive

means (“HIGHLY CONFIDENTIAL SOURCE CODE”).

       2.      The protections conferred by this Source Code Protective Order cover not only

HIGHLY CONFIDENTIAL SOURCE CODE (as defined above), but also (1) any information

copied from HIGHLY CONFIDENTIAL SOURCE CODE; (2) all copies, excerpts, summaries,

or compilations of HIGHLY CONFIDENTIAL SOURCE CODE in any form and created by any

individual; and (3) any testimony, conversations, or presentations that might reveal HIGHLY

CONFIDENTIAL SOURCE CODE.

       3.      Prior to being given access to any HIGHLY CONFIDENTIAL SOURCE CODE,

Bryan Bishop, will swear and affirm that he is not a past or current employee of a competitor to

Chainalysis, that he is not and is not anticipated to become an employee of a competitor to

Chainalysis, that he is hereby prohibited from engaging in competitive behavior with Chainalysis

during this litigation and for five (5) years following the conclusion of this litigation, and that he

will comply with the terms of this Source Code Protective Order. Bryan Bishop will return a

signed acknowledgement form attached as Attachment A to this Order to the Court, the United

States, and Chainalysis.

       4.      Prior to being given access to any HIGHLY CONFIDENTIAL SOURCE CODE,

defense counsel will swear and affirm that they will comply with the terms of this Source Code

Protective Order. Defense counsel will return a signed acknowledgement form attached as

Attachment B to this Order to the Court, the United States, and Chainalysis.



                                                  2
sf-5629143
        Case 1:21-cr-00399-RDM Document 185-3 Filed 09/08/23 Page 4 of 8




       5.      All HIGHLY CONFIDENTIAL SOURCE CODE may be used by defense counsel

and their expert Bryan Bishop solely in connection with the defense of this case, and for no other

purpose, and in connection with no other proceeding, without notice to Chainalysis and further

order of this Court.

       6.      The defendant, defense counsel, and Bryan Bishop shall not disclose any HIGHLY

CONFIDENTIAL SOURCE CODE to any person or entity without notice to Chainalysis and prior

permission from the Court.

       7.      Chainalysis may make its HIGHLY CONFIDENTIAL SOURCE CODE available

for inspection and review by Bryan Bishop in a format allowing it to be reasonably reviewed and

searched, during normal business hours or at other mutually agreeable times, on the premises of

Chainalysis. The HIGHLY CONFIDENTIAL SOURCE CODE shall be made available for

inspection on a secured computer in a secured room without Internet access or network access to

other computers, and Bryan Bishop shall not copy, remove, or otherwise transfer any portion of

the HIGHLY CONFIDENTIAL SOURCE CODE onto any recordable media or recordable device.

Chainalysis may visually monitor the activities of Bryan Bishop during any HIGHLY

CONFIDENTIAL SOURCE CODE review, but only to ensure that there is no unauthorized

recording, copying, or transmission of the HIGHLY CONFIDENTIAL SOURCE CODE. Outside

personal electronic devices, such as phones, handheld devices, laptops, or other personal

computers shall be prohibited in the secure room.

       8.      Defense counsel and Bryan Bishop shall maintain in its custody and control any

materials and all copies made thereof derived in any way from HIGHLY CONFIDENTIAL

SOURCE CODE and shall not disclose such information in any way to any other person.

       9.      Upon conclusion of all stages of this case or any action brought pursuant to 28



                                                3
sf-5629143
        Case 1:21-cr-00399-RDM Document 185-3 Filed 09/08/23 Page 5 of 8




U.S.C. Section 2255, any materials and all copies made thereof derived in any way from HIGHLY

CONFIDENTIAL SOURCE CODE shall be destroyed or returned to the United States or

Chainalysis, unless otherwise ordered by the Court. The Court may require a certification as to

the disposition of any such materials.

       10.     The procedures for use of HIGHLY CONFIDENTIAL SOURCE CODE during

any hearing or the trial of this matter shall be determined by the parties, Chainalysis, and the Court

in advance of the hearing or trial. No party shall disclose HIGHLY CONFIDENTIAL SOURCE

CODE in open court or in public filings without prior consideration by the Court.

                                         Scope of this Order

       11.     Supplemental Nature of This Order. This Order supplements and does not

modify the existing Protective Order Governing Discovery (ECF No. 18), which was entered by

the Court on September 17, 2021

       12.     Modification Permitted. Nothing in this Order shall prevent any party from

seeking modification of this Order or from objecting to discovery that it believes to be otherwise

improper.

       13.     No Waiver. Chainalysis neither waives any objections nor concedes to Defendant’s

requests for review of any Source Code.

       14.     No Ruling on Discoverability or Admissibility. This Order does not constitute a

ruling on the question of whether any particular material is properly discoverable or admissible

and does not constitute any ruling on any potential objection to the discoverability of any material.




                                                  4
sf-5629143
        Case 1:21-cr-00399-RDM Document 185-3 Filed 09/08/23 Page 6 of 8




       IT IS SO ORDERED this _____ day of ______________ 2023.



                                       _____________________________________
                                       Randolph D. Moss
                                       United States District Judge




                                         5
sf-5629143
        Case 1:21-cr-00399-RDM Document 185-3 Filed 09/08/23 Page 7 of 8




                                            EXHIBIT A

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, Bryan Bishop, declare under penalty of perjury that I have read in its entirety and

understand the Source Code Protective Order that was issued by the United States District Court

for the District of Columbia on [date] in the case of United States v. Sterlingov, No. 21-CR-399

(RDM). I agree to comply with and to be bound by all the terms of this Source Code Protective

Order and I understand and acknowledge that failure to so comply could expose me to sanctions

and punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner

any information or item that is subject to this Source Code Protective Order to any person or entity

except in strict compliance with the provisions of this Order.

       I further swear and affirm that I am not a past or current employee of a competitor to

Chainalysis, that I am not and am not anticipated to become an employee of a competitor to

Chainalysis, that I am hereby prohibited from engaging in competitive behavior with Chainalysis

during this litigation and for five years following the conclusion of this litigation.

       I further agree to submit to the jurisdiction of the United States District Court for the

District of Columbia for the purpose of enforcing the terms of this Source Code Protective Order,

even if such enforcement proceedings occur after termination of this action.



Date: _________________________________

City and State where sworn and signed: _________________________________


Printed name: ______________________________
              [printed name]

Signature: __________________________________
              [signature]

                                                  6
sf-5629143
        Case 1:21-cr-00399-RDM Document 185-3 Filed 09/08/23 Page 8 of 8




                                            EXHIBIT B

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, [insert name of defense counsel], declare under penalty of perjury that I have read in its

entirety and understand the Source Code Protective Order that was issued by the United States

District Court for the District of Columbia on [date] in the case of United States v. Sterlingov, No.

21-CR-399 (RDM). I agree to comply with and to be bound by all the terms of this Source Code

Protective Order and I understand and acknowledge that failure to so comply could expose me to

sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose in

any manner any information or item that is subject to this Source Code Protective Order to any

person or entity except in strict compliance with the provisions of this Order.

       I further agree to submit to the jurisdiction of the United States District Court for the

District of Columbia for the purpose of enforcing the terms of this Source Code Protective Order,

even if such enforcement proceedings occur after termination of this action.



Date: _________________________________

City and State where sworn and signed: _________________________________


Printed name: ______________________________
              [printed name]

Signature: __________________________________
              [signature]




                                                 7
sf-5629143
